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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 KIMBERLY DOMANTAS,

                                   Plaintiff,           Case No. 1:21-cv-00232
 v.
                                                        Honorable Judge Gabriel A. Fuentes
 MENARD, INC.,                                          Magistrate Judge

                                 Defendant.

                                 PROPOSED PRE-TRIAL ORDER

         This matter having come before the court at a pretrial conference held pursuant to Fed.

R. Civ. P. ("Rule") 16, and Danielle A. Pinkston of Pinkston Law Group, P.C., 54 North Ottawa

Street, Suite 110, Joliet, Illinois 60432, (773) 770-4771, having appeared as counsel for plaintiff

and W. Anthony Andrews and Joseph S. Davidson of Ottosen DiNolfo Hasenbalg & Castaldo,

Ltd., 1804 North Naper Boulevard, Suite 350, Naperville, Illinois 60563; (630) 682-0085, having

appeared as counsel for defendant, jointly submit their Final Pretrial Order.

         This Order will control the course of the trial and may not be amended except by consent

of the parties, or by order of the Court to prevent manifest injustice.

         1.     JURISDICTION. This is an action for premises liability and the jurisdiction of

the court is invoked under 28 U.S.C. § 1332(a)(1). The parties are of diverse citizenship—The

Plaintiff is a citizen of Illinois; the Defendant is a Wisconsin corporation with its principal place

of business in Wisconsin; thus the Defendant is a citizen of Wisconsin. The parties agree that the

amount in controversy exceeded $75,000 at the time relevant to jurisdictional evaluation.

         2.     CASE STATEMENT. This case arises from an injury the Plaintiff, Kimberly

Domantas, sustained after tripping and falling at one of the Defendant, Menard, Inc.'s stores in




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Joliet, Illinois. Ms. Domantas tripped and fell over a pole that was sticking out of a customer's

cart that was located at the end of the aisle Ms. Domantas was walking down. Menard, Inc. denies

it caused, or was aware of, this hazard.

       Ms. Domantas is represented by Danielle A. Pinkston of Pinkston Law Group, P.C.

Menard, Inc. is represented by W. Anthony Andrews and Joseph S. Davidson of Ottosen DiNolfo

Hasenbalg & Castaldo, Ltd.

       3.      STIPULATIONS. The parties stipulate:

               A.          The plaintiff, Ms. Domantas is a citizen of Illinois.

               B.          The defendant, Menard, Inc. is a citizen of Wisconsin.

               C.          The incident occurred at the premises owned, operated and/or maintained

                           by Menard, Inc. located at 2524 West Jefferson Street, Joliet, Illinois 60435.

               D.          The incident occurred on August 15, 2019.

               E.          Ms. Domantas incurred the following medical bills as a result of her fall on

                           August 15, 2019:

        CEP America                                                                          $2,106.00
        Joliet Radiological Services                                                           $776.00
        Hanger Prosthetics                                                                     $102.31
        Misc. Prescription/Basinger Pharmacy                                                   $557.48
        DuPage Medical Group (incl. Dr. Michael Murphy)                                      $2,644.00
        TOTAL                                                                                $6,185.79

               F.          The following summary of Dr. Michael Murphy's testimony will be read:

                      i.          Dr. Michael Murphy is a board-certified orthopedic surgeon,

                                  currently employed by Duly Health and Care (formerly DuPage

                                  Medical Group).

                     ii.          As a result of her fall at the Menards Joliet store on August 15, 2019,

                                  Ms. Domantas sought treatment from Dr. Murphy.



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             iii.     Dr. Murphy saw Ms. Domantas on the following occasions: August

                      21, 2019, August 28, 2019, September 4, 2019, September 20, 2019,

                      and October 11, 2019.

             iv.      Following his initial examination of Ms. Domantas, and consistently

                      throughout his treatment of her, Dr. Murphy diagnosed Ms.

                      Domantas with a closed nondisplaced fracture of the head of her left

                      radius and left arm pain.

              v.      Ms. Domantas suffered a closed nondisplaced fracture of the head

                      of her left radius and left arm pain as a result of her fall on August

                      15, 2019 at the Menards Joliet store.

             vi.      The treatment Dr. Murphy rendered Ms. Domantas between August

                      21, 2019 and October 11, 2019 was reasonable and necessary to treat

                      the closed nondisplaced fracture of the left radius suffered as a result

                      of her fall on August 15, 2019.

            vii.      Non-displaced means it has not moved out of position.

            viii.     No surgery was necessary to put it in alignment.

             ix.      Ms. Domantas's arm was placed in a sling to keep her injured elbow

                      from moving.

              x.      The fracture healed as expected in 45-60 days—by Ms. Domantas's

                      October 11, 2019 visit.

             xi.      The injury Ms. Domantas sustained following her fall at Menards

                      was isolated to the elbow.




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              xii.          Only the therapy for the elbow is related to Ms. Domantas's fall at

                            Menards.

         G.          Illinois law applies to Ms. Domantas's substantive claims.

         H.          Stipulated issues, in lieu of contested Motions in Limine

                i.          To exclude all individuals who will or may testify at trial (except

                            named parties) from the courtroom while the trial is in session until

                            such witnesses have fully completed their testimony.

               ii.          To bar any reference to insurance or insurance coverage.

              iii.          To bar any evidence of settlement discussions.

              iv.           To bar any evidence of the relative wealth of the parties.

   4.    WITNESS LIST. Included are names of witnesses who will be called to testify,

         witnesses who may be called to testify at trial, and witnesses whose testimony will

         be presented by deposition or other prior testimony.

         A.          Plaintiff

                     i.     Witnesses who will be called to testify at trial.

                            Kimberly Domantas
                            207 Fisher Avenue
                            Rockdale, Illinois 60436

                            Menard, Inc. team member Sandra Guzman
                            2524 West Jefferson Street
                            Joliet, Illinois 60435

                            Menard, Inc. team member Tami House
                            2524 West Jefferson Street
                            Joliet, Illinois 60435

                            Menard, Inc. general manager
                            2524 West Jefferson Street
                            Joliet, Illinois 60435




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                                 Objection by Defendant – See ¶ 8B(i)

                                 Menard, Inc. corporate representative
                                 5101 Menard Drive
                                 Eau Claire, Wisconsin 54703

                                 Objection by Defendant – See ¶ 8B(i)

                          ii.    Witnesses who may be called to testify at trial.

                                 None.

                          iii.   Witnesses whose testimony will be presented by deposition or
                                 other prior testimony.

                                 None. See ¶ 3G.

                    B.    Defendant

                          i.     Witnesses who will be called to testify at trial.

                                 None.

                          ii.    Witnesses who may be called to testify at trial.

                                 Menard, Inc. team member Sandra Guzman
                                 2524 West Jefferson Street
                                 Joliet, IL 60435

                                 Menard, Inc. team member Tami House
                                 2524 West Jefferson Street
                                 Joliet, IL 60435

                          iii.   Witnesses whose testimony will be presented by deposition (pp.
                                 to be determined following Plaintiff's testimony)

                                 Dr. Nirali Doshi, MD
                                 301 Madison St., Suite 305
                                 Joliet, IL 60435

        5.          EXHIBIT LIST. The parties hereby designate the following as exhibits to be

offered at trial.

                    A.    Joint Exhibits




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        Exhibit number     Date               Description

        JX1                08/15/2019         Security camera footage

        JX2                08/15/2019         In-store map

        JX3                11/29/2022         Demonstrative photographs of merchandise

        JX4                11/29/2022         Demonstrative photographs of route taken by
                                              Plaintiff
        JX5                TBD                Demonstrative photographs from view of Sandra
                                              Guzman
        JX6                08/15/2019         Freeze frames of security camera footage (.pdf)


              B.      Plaintiff’s Exhibits

                      None

              C.      Defendant’s Exhibits

        Exhibit number     Date               Description

        DX1                10/29/2019 –       Records from Dr. Nirali Doshi, 43 pp.
                           02/25/2020

       6.     ESTIMATE OF TRIAL TIME. The case will be a jury trial. A realistic

estimate—in number of hours—of the length of the trial is 32 to 40 hours.

       7.     DAMAGES ITEMIZATION. Ms. Domantas submits the following itemization

of damages:

              A.      Economic Damages

                      i.     Medical Expenses:

                             a.     Emergency room charges: $2,106.00

                             b.     Hospitalization costs: $ t.b.d.

                             c.     Surgery fees (if applicable): $ n/a

                             d.     Medication prescriptions: $557.48




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                             e.      Physical therapy/rehabilitation: $2,644.00

                             f.      Future medical care (as estimated by medical expert): $ n/a

                     ii.     Other Out-of-Pocket Expenses:

                             a.      Medical devices (e.g., crutches, braces): $102.31

                             b.      Transportation to medical appointments: $ n/a

              B.     Non-Economic Damages

                     i.      Pain and Suffering: For physical pain and emotional distress

                             endured as a direct result of the injuries sustained from the slip and

                             fall incident: $ t.b.d.

                     ii.     Disability or Disfigurement: For any permanent physical disability

                             or disfigurement that has resulted from the incident: $ t.b.d.

                     iii.    Loss of Normal Life: For the diminished quality of life and inability

                             to pursue the normal activities of daily living as enjoyed prior to the

                             incident: $ t.b.d.

                     iv.     Emotional Distress: For the psychological impact of the accident,

                             including anxiety, stress and trauma: $ t.b.d.

       Ms. Domantas reserves the right to amend this itemization as necessary to conform to the

evidence as it may develop, including any additional medical expenses, changes in prognosis, or

other damages that may become apparent through the progression of this case.

       8.     MOTIONS IN LIMINE.

              A.     Plaintiff

                     i.      To bar any reference to the plaintiff's past medical history/any pre-

                             existing conditions.




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                         ii.    To bar any reference to unrelated health conditions, care or

                                treatment.

                         iii.   To bar the use of photographs of the scene of the event taken after

                                the date of the incident.

              B.         Defendant

                         i.     To bar plaintiff from presenting undisclosed evidence, opinions,

                                testimony and/or witnesses—including, but not limited to Menard,

                                Inc. general manager and Menard, Inc. corporate representative.

                         ii.    To bar plaintiff herself from offering any testimony regarding

                                diagnosis, prognosis, or medical conclusions regarding her injury or

                                condition, including disability or accounts of what doctors told her.

SO ORDERED.                                            ENTER:



                                                       GABRIEL A. FUENTES
                                                       United States Magistrate Judge

Dated:

AGREED

/s/ Danielle A. Pinkston                               /s/ W. Anthony Andrews

Danielle A. Pinkston                                   W. Anthony Andrews
Pinkston Law Group, P.C.                               Joseph S. Davidson
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                                                       Attorneys for Defendant



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